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 6                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
 7                                         AT SEATTLE

 8   UNITED STATES OF AMERICA,

 9                         Plaintiff,                    CASE NO. CR12-113-JCC

10          v.
                                                         PROPOSED FINDINGS OF FACT AND
11   WALTER MOORING,                                     DETERMINATION AS TO ALLEGED
                                                         VIOLATIONS OF SUPERVISED
12                         Defendant.                    RELEASE

13

14                                         INTRODUCTION

15          I conducted a hearing on alleged violations of supervised release in this case on July 18,

16   2016. The United States was represented by Tom Woods, and defendant was represented by

17   Brent Hart. The proceedings were digitally recorded.

18                                  CONVICTION AND SENTENCE

19          Defendant had been convicted on or about February 1, 2013, on charges of burglary of a

20   U.S. Post Office, and aggravated identity theft. The Hon. John C. Coughenour of this court

21   sentenced defendant to 9 months and 24 months in custody, followed by three years of

22   supervised release. He served this term of imprisonment, and began his term of supervised

23   release on April 1, 2016.

     PROPOSED FINDINGS OF FACT AND
     DETERMINATION AS TO ALLEGED
     VIOLATIONS OF SUPERVISED RELEASE
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 1           PRIOR ALLEGED VIOLATIONS, AND MODIFICATION OF CONDITIONS

 2          On June 20, 2016, the USPO alleged defendant had been using alcohol. The court

 3   adopted the USPO’s recommendation, and required defendant to complete a substance abuse

 4   assessment and increased testing frequency.

 5                            PRESENTLY ALLEGED VIOLATIONS AND
                                   DEFENDANT'S ADMISSIONS
 6

 7          In a petition dated July 3, 2016, supported by a memorandum dated July 5, 2016, USPO

 8   Julie Jansen alleged that defendant violated the conditions of supervised release in three respects:

 9             1. Committing the crime of assault in Lynnwood, WA on July 2, 2016;

10             2. Committing the crime of malicious mischief in Lynnwood, WA on July 2, 2016;

11                 and ;

12             3. Consuming alcohol in Lynnwood WA on July 2, 2016.

13   I advised defendant as to these charges and as to his constitutional rights. He admitted all of

14   these alleged violations, waived any hearing as to whether they occurred, and consented to

15   having the matter set for a disposition hearing before Judge Coughenour.

16                         RECOMMENDED FINDINGS AND CONCLUSIONS

17          Based upon the foregoing, I recommend the court find that defendant has violated the

18   conditions of his supervised release in the three respects alleged, and conduct a disposition

19   hearing. The court scheduled that hearing for August 23, 2016 at 9:00 a.m.

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     PROPOSED FINDINGS OF FACT AND
     DETERMINATION AS TO ALLEGED
     VIOLATIONS OF SUPERVISED RELEASE
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 1         The court detained defendant, pending that hearing.

 2         DATED this 18th day of July, 2016.

 3                                      s/ JOHN L. WEINBERG
                                        United States Magistrate Judge
 4

 5

 6   cc:   Sentencing Judge             :       Hon. John C. Coughenour
           Assistant U.S. Attorney      :       Tom Woods
 7         Defense Attorney             :       Brent Hart
           U. S. Probation Officer      :       Julie Jansen
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     PROPOSED FINDINGS OF FACT AND
     DETERMINATION AS TO ALLEGED
     VIOLATIONS OF SUPERVISED RELEASE
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